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                        UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION


KNIGHT FIRST AMENDMENT
INSTITUTE AT COLUMBIA
UNIVERSITY; MARIO CARRILLO;                                           1:21-cv-00307
                                                    Civil Action No. __________
JOSEPH CASCINO; JUSTIN CHAMPLIN;
EDWARD ESPINOZA; OMAR GALLAGA;
FATIMA MANIAR; JENNIFER RAMOS;
JOHN RUFFIER; and JAMES SCURLOCK,

              Plaintiffs,

       v.

WARREN KENNETH PAXTON, JR.,
Attorney General of Texas,

              Defendant.



            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                          Introduction

       1.      Defendant Texas Attorney General Warren Kenneth Paxton, Jr., (“Attorney

General Paxton” or “Defendant”) uses the @KenPaxtonTX Twitter account for official

purposes—including to share information with constituents and solicit their views about

government policy—but he has blocked many people from the account because they criticized

him or his policies. This practice is unconstitutional.

       2.      Plaintiffs are the Knight First Amendment Institute at Columbia University

(“Knight Institute”), as well as nine individuals who were blocked from the @KenPaxtonTX

account after they criticized Attorney General Paxton or his policies (“Individual Plaintiffs”).

Attorney General Paxton’s blocking of the Individual Plaintiffs from the account based on

viewpoint violates the Individual Plaintiffs’ right to speak in a public forum. It also violates

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their right of access to important government information, and their right to petition the

government for redress of grievances. The Knight Institute has not been blocked, but it follows

both the @KenPaxtonTX account and the Individual Plaintiffs’ accounts. Attorney General

Paxton’s blocking of critics from the @KenPaxtonTX account violates the Knight Institute’s

and the Individual Plaintiffs’ right to hear the speech that these individuals would have engaged

in had they not been blocked from the account.

        3.      Plaintiffs respectfully ask that the Court declare that Defendant’s blocking of the

Individual Plaintiffs violates the First Amendment, order Defendant to unblock the Individual

Plaintiffs from the @KenPaxtonTX account, order Defendant to unblock all other individuals

who were blocked from the account based on their viewpoints, and order other relief as

requested below.

                                    Jurisdiction and Venue

        4.      This action arises under 42 U.S.C. § 1983 for violations of civil rights under the

First and Fourteenth Amendments to the United States Constitution.

        5.      The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343.

        6.      Declaratory relief is authorized by 28 U.S.C. §§ 2201 and 2202.

        7.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(1) and (b)(2) because

Defendant resides in this District and a substantial part of the events giving rise to this claim

occurred in this District.

                                             Parties

        8.      The Knight Institute is a New York not-for-profit corporation based at Columbia

University that works to preserve and expand the freedoms of speech and the press in the

digital age through strategic litigation, research, and public education. The Knight Institute’s

staff operate a Twitter account under the handle @knightcolumbia.

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       9.       Plaintiff Mario Carrillo, who resides in Austin, Texas, is a campaign manager

for a pro-immigration organization. He operates a Twitter account under the handle

@_mariocarrillo_.

       10.      Plaintiff Joseph Cascino, who resides in Austin, Texas, is a student at the

University of Texas at Austin. He operates a Twitter account under the handle @Joecascinotx.

       11.      Plaintiff Justin Champlin, who resides in Austin, Texas, works in sales for a

technology company. He operates a Twitter account under the handle @DesPorkLoins.

       12.      Plaintiff Edward Espinoza, who resides in Austin, Texas, is the executive

director of a media organization that promotes progressive messages. He operates a Twitter

account under the handle @EdEspinoza.

       13.      Plaintiff Omar Gallaga, who resides in New Braunfels, Texas, is a freelance

journalist. He operates a Twitter account under the handle @omarg.

       14.      Plaintiff Fatima Maniar, who resides in Houston, Texas, is a United States Army

veteran and project manager for a health insurance company. She operates a Twitter account

under the handle @fatimamhtx.

       15.      Plaintiff Jennifer Ramos, who resides in Austin, Texas, is a project assistant for

a communications firm. She operates a Twitter account under the handle @itsjenramos.

       16.      Plaintiff John Ruffier, who resides in El Paso, Texas, is a student at the

University of Texas at El Paso, and an office assistant at a medical supply company. He

operates a Twitter account under the handle @notthechips.

       17.      Plaintiff James Scurlock, who resides in Leander, Texas, is an attorney. He

operates a Twitter account under the handle @realscurlock.




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       18.      Defendant Warren Kenneth Paxton, Jr., is Attorney General of Texas and is sued

in his official capacity. Attorney General Paxton operates a verified Twitter account under the

handle @KenPaxtonTX and has blocked all of the Individual Plaintiffs from this account.

                                         Background

     A.       Twitter

       19.      Twitter is a social media platform with more than 330 million active users

worldwide, including some 70 million in the United States. The platform allows users to

publish short messages, to republish or respond to others’ messages, and to interact with other

Twitter users in relation to those messages. Speech posted on Twitter ranges from personal

insult to poetry, but particularly relevant here is that a significant amount of speech posted on

the platform is speech by, to, or about the government.

       20.      Users. A Twitter “user” is an individual who has created an account on the

platform. A user can post “tweets,” up to 280 characters in length, to a webpage on Twitter that

is attached to the user’s account. Tweets can include photographs, videos, and links. Some

Twitter users do not tweet—i.e., publish messages—at all. Others publish hundreds of

messages a day.

       21.      Timelines. A Twitter user’s webpage displays all tweets generated by the user,

with the most recent tweets appearing at the top of the page. This display is known as a user’s

“timeline.” When a user posts a tweet, the timeline updates immediately to include that tweet.

Anyone who can view a user’s public Twitter webpage can see the user’s timeline. Below is a

screenshot of part of the timeline associated with the @KenPaxtonTX account:




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       22.      A Twitter user must have an account name, which is an @ symbol followed by a

unique identifier (e.g., @KenPaxtonTX), and a descriptive name (e.g., Attorney General Ken

Paxton). The account name is called the user’s “handle.” Alongside the handle, a user’s

webpage will display the date the user joined Twitter. A user’s Twitter webpage may also

include a short biographical description; a profile picture, such as a headshot; a “header”

image, which appears as a banner at the top of the webpage; the user’s location; and a small



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sample of photographs and videos posted to the user’s timeline, which link to a full gallery.

Thus, part of the webpage for @KenPaxtonTX recently looked like this:




        23.      Tweets. An individual “tweet” comprises the tweeted content (i.e., the message,

including any embedded photograph, video, or link), the user’s account name (with a link to

the user’s Twitter webpage), the user’s profile picture, the date and time the tweet was

generated, and the number of times the tweet has been replied to (    ), retweeted by (    ), or

liked by ( ) other users. Upon clicking on a particular tweet, the tweet will show the number

of times the tweet has been retweeted; “quote tweeted,” in which other users retweet the tweet

and add their own content; and liked. Thus, a recent tweet from @KenPaxtonTX looked like

this:




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       24.       By default, Twitter webpages and their associated timelines are visible to

everyone with Internet access, including those who are not Twitter users. However, although

non-users can view users’ Twitter webpages, they cannot interact with users on the Twitter

platform.

       25.       Following. Twitter users can subscribe to other users’ messages by “following”

those users’ accounts. Users see all tweets posted or retweeted by accounts they have followed.

This display is labeled “Home” on Twitter’s site, and it is often colloquially referred to as a

user’s “feed.”

       26.       Verification. Twitter permits users to establish accounts under their real names

or pseudonyms. Though Twitter has temporarily put its verification process on hold, users who

previously wanted to establish that they were who they claimed to be could ask Twitter to

“verify” their accounts. When an account is verified, a blue badge with a checkmark appears

next to the user’s name on his or her Twitter page and on each tweet the user posts.

       27.       Retweeting. Beyond publishing tweets to their followers, Twitter users can

engage with one another in a variety of ways. For example, they can “retweet”—i.e.,

republish—the tweets of other users, either by publishing them directly to their own followers



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or by “quoting” them in their own tweets. When a user retweets a tweet, it appears on the

user’s timeline in the same form as it did on the original user’s timeline, but with a notation

indicating that the post was retweeted. This is a recent retweet by @KenPaxtonTX:




       28.      Replying. A Twitter user can also reply to other users’ tweets. Like any other

tweet, a reply can be up to 280 characters in length and can include photographs, videos, and

links. When a user replies to a tweet, the reply appears on the user’s timeline under a tab

labeled “Tweets & replies.” The reply will also appear on the original user’s feed in a

“comment thread” under the tweet that prompted the reply. Other users’ replies to the same

tweet will appear in the same comment thread. Reply tweets by verified users, reply tweets by

users with a large number of followers, and tweets that are “favorited” and retweeted by large

numbers of users generally appear higher in the comment threads.




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       29.      Comment threads. A Twitter user can also reply to other replies. A user whose

tweet generates replies will see the replies below his or her original tweet, with any replies-to-

replies nested below the replies to which they respond. The collection of replies and replies-to-

replies is sometimes referred to as a “comment thread.” Twitter is called a “social” media

platform in large part because of comment threads, which reflect multiple overlapping

conversations among and across groups of users. Below is a @KenPaxtonTX tweet that

prompted more than 300 comments:




       30.      Liking. A Twitter user can also “like” another user’s tweet by clicking on the

heart icon that appears under the tweet. By “liking” a tweet, a user may mean to convey

approval of or to acknowledge having seen the tweet.




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       31.     Mentioning. A Twitter user can also “mention” another user by including the

other user’s Twitter handle in a tweet. A Twitter user mentioned by another user will receive a

“notification” that he or she has been mentioned in another user’s tweet.

       32.     Tweets, retweets, replies, likes, and mentions are controlled by the user who

generates them. No other Twitter user can alter the content of any retweet or reply, either

before or after it is posted. Twitter users cannot prescreen tweets, replies, likes, or mentions

that reference their tweets or accounts.

       33.     Protected tweets. Because all Twitter webpages are by default visible to all

Twitter users and to anyone with access to the Internet, users who wish to limit who can see

and interact with their tweets must affirmatively “protect” their tweets. Other users who wish

to view “protected” tweets must request access from the user who has protected his or her

tweets. “Protected” tweets do not appear in third-party search engines, and they are searchable

only on Twitter, and only by the user and his or her approved followers.

       34.     Blocking. A user whose account is public (i.e., not protected) but who wants to

deny another user access to his or her tweets can do so by “blocking” that user. (Twitter

provides users with the capability to block other users, but, importantly, it is the users

themselves who decide whether to make use of this capability.) A user who blocks another user

prevents the blocked user from interacting with the blocking user’s account on the Twitter

platform. A blocked user cannot see or reply to the blocking user’s tweets, view the blocking

user’s list of followers or followed accounts, or use the Twitter platform to search for the

blocking user’s tweets. The blocking user will not be notified if the blocked user mentions him

or her; nor will the blocking user see any tweets posted by the blocked user.




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           35.   If the blocked user attempts to follow the blocking user, or to access the Twitter

webpage from which the user is blocked, the user will see a message indicating that the other

user has blocked him or her from following the account and viewing the tweets associated with

the account. This is an example of a notification from Twitter that a user has been blocked:




           36.   Hiding Replies: In November 2019, Twitter implemented a feature that permits

users to hide replies to their tweets. To use the feature, the user authoring the original tweet can

click the “hide reply” button to hide any specific reply to the author’s tweet. That specific reply

will then be hidden to the original user as well as to other users, without notification to the

replying user. Both the original user and all other users will still be able to see all hidden

replies by clicking on a “hidden reply” icon on the original tweet, unless the hidden reply is

from a protected account or the hidden reply is deleted by the replying user. The original user

may unhide a reply by clicking the “unhide reply” button that appears on each of the hidden

replies.

           37.   Limiting Replies: In August 2020, Twitter implemented a feature that allows

Twitter users to limit who can reply to their tweets. To use this feature, the user authoring the

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original tweet can click the “Everyone can reply” button under the tweet to display a list of

options: “Everyone”; “People [the user] follow[s]”; and “Only people [the user] mention[s] [in

the tweet].” If the author of the tweet selects the second option, only people who follow the

author will be able to reply; if the user selects the third option, only accounts mentioned in the

original tweet will be able to reply.

     B.      The @KenPaxtonTX account

       36.     Defendant established the @KenPaxtonTX account in June 2009, when he was

a member of the Texas House of Representatives. He has been an elected official at all times

since the opening of the @KenPaxtonTX account: first as a member of the Texas House, then

as a member of the Texas Senate, and then as Attorney General. He was elected Attorney

General of Texas in 2014 and sworn into office in January 2015. He was then re-elected to a

second term as Attorney General in 2018.

       37.     The profile page of the @KenPaxtonTX account indicates, in multiple ways,

that the account is an official account. The descriptive name, which appears above the

“@KenPaxtonTX” handle name on the profile page, reads “Attorney General Ken Paxton,”

and it lists his location as “The Great State of Texas.” The header above Attorney General

Paxton’s photo displays the phrase “Ken Paxton Texas Attorney General.” The account features

a blue checkmark, indicating that it has been verified by Twitter. And the account’s

biographical information includes the title “Texas Attorney General Ken Paxton.”

       38.     The @KenPaxtonTX account is accessible to the public at large without regard

to any limiting criteria. Attorney General Paxton has not “protected” his tweets, and

accordingly anyone who wants to follow the account can do so. He has not issued any rule or

statement purporting to limit (by form or subject matter) the speech of those who reply to his



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tweets. He has not limited who can reply to his tweets. The only users who cannot follow

@KenPaxtonTX are those he has blocked.

       39.     Attorney General Paxton uses @KenPaxtonTX, often multiple times a day, to

announce, describe, and defend his policies and legal challenges brought by his office; to

comment on national and local issues; to share news appearances and interviews related to his

official duties; to retweet tweets from the @TXAG account (an account that belongs to the

State of Texas but that is made available to whoever occupies the post of Attorney General at

the time); and to communicate with his constituents, occasionally by responding to their

tweets. Because of the way he uses the account, Attorney General Paxton’s tweets have

become an important source of news and information about his work. Further, the comment

threads associated with the tweets have become important forums for speech by, to, and about

Attorney General Paxton.

       40.     Attorney General Paxton has tweeted hundreds of times from the

@KenPaxtonTX account about matters relating to his official duties. For example, on July 1,

2015, he tweeted the following:




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41.   On March 30, 2020:




42.   On September 14, 2020:




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43.   On November 6, 2020:




44.   On December 9, 2020:




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45.   On January 1, 2021:




46.   On January 13, 2021:




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       47.    And on March 10, 2021:




       48.    The Office of the Texas Attorney General operates a separate Twitter account,

@TXAG. The @TXAG account has approximately 70,000 followers and is used to share

official news and information from the Texas Attorney General’s office. The @KenPaxtonTX

account’s profile page encourages people to follow the @TXAG account for “official news

from [Attorney General Paxton’s] office,” but Attorney General Paxton regularly uses the




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@KenPaxtonTX account to make official announcements or provide information that is not

communicated through the @TXAG account.

         49.   For example, on September 24, 2020, Attorney General Paxton posted this

tweet:




Neither that tweet, however, nor a discussion about the meeting at the White House, appeared

on the @TXAG account.

         50.   On November 17, 2020, Attorney General Paxton tweeted the following

statement in response to allegations by former employees of his office who publicly stated they

were fired in retaliation for accusing him of misconduct:




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This statement was not posted to (or retweeted by) the @TXAG account.




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       51.     And on March 1, 2021, Attorney General Paxton used the @KenPaxtonTX

account to share a story by The Federalist concerning a letter he sent in his official capacity. He

tweeted:




However, neither that tweet nor other details about this effort appear on the @TXAG account.

       52.     Because of the way in which Attorney General Paxton uses @KenPaxtonTX,

the account has become an important source of information about the work and policies of the

Texas Attorney General’s Office. This information is relevant not just to the residents of Texas

but to Americans more generally, given the national scope of many of the matters the Texas

Attorney General’s office tackles. Those who are blocked from the @KenPaxtonTX account

are impeded in their ability to learn information that is shared only through that account.

       53.     The comment threads associated with tweets from @KenPaxtonTX are

important forums for discussion and debate about Attorney General Paxton’s decisions and the

policies of his office. Typically, tweets from @KenPaxtonTX generate dozens if not hundreds

of replies, some of which generate their own replies in turn. The @KenPaxtonTX account is a


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kind of digital town hall in which Attorney General Paxton uses the tweet function to

communicate news and information to the public, and members of the public use the reply

function to respond to Attorney General Paxton and exchange views with one another.

     C.      Defendant’s unconstitutional blocking of critics from the @KenPaxtonTX
             account

                                      Individual Plaintiffs

       54.     The Individual Plaintiffs are Twitter users who have been blocked by Attorney

General Paxton from the @KenPaxtonTX account because they criticized him or his policies.

Attorney General Paxton’s blocking of the Individual Plaintiffs from the @KenPaxtonTX

account prevents or impedes the Individual Plaintiffs from viewing his tweets; from replying to

these tweets; from viewing the comment threads associated with these tweets; and from

participating in the comment threads.

       55.     Attorney General Paxton’s viewpoint-based blocking of the Individual Plaintiffs

from the @KenPaxtonTX account infringes the Individual Plaintiffs’ First Amendment rights.

It imposes an unconstitutional restriction on their participation in a designated public forum; on

their right to access statements that Attorney General Paxton is otherwise making available to

the public at large; and on their right to petition the government for redress of grievances.

       56.     Attorney General Paxton’s practice of blocking individuals who criticize him

from the @KenPaxtonTX account appears to be widespread. On information and belief, in

addition to the Individual Plaintiffs named in this Complaint, Attorney General Paxton has

blocked many other individuals from the @KenPaxtonTX account based on their viewpoints.




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                                          Mario Carrillo

         57.     Plaintiff Mario Carrillo resides in Austin, Texas. He is a campaign manager with

 a pro-immigration organization. His Twitter account handle is @_mariocarrillo_.

       58.     Before he was blocked, Mr. Carrillo viewed tweets from the @KenPaxtonTX

account to remain updated on news about Attorney General Paxton and his office. He was often

particularly interested in content from the account related to Attorney General Paxton’s

immigration policies.

       59.     Mr. Carrillo learned that Attorney General Paxton blocked him from the

@KenPaxtonTX account on or around February 27, 2021. The most recent tweets in which Mr.

Carrillo had specifically mentioned the @KenPaxtonTX account before that point were two

tweets on October 29 and October 31, 2020.

       60.     In the tweet on October 29, 2020, Mr. Carrillo retweeted a tweet from the

@TXAG account which stated that Attorney General Paxton’s office was exploring options for

preventing the El Paso County Judge from issuing a shutdown order in light of COVID-19. Mr.

Carrillo commented, “The party of local control strikes again. Also, when is court date again

@KenPaxtonTX?”

       61.     In asking about the “court date,” Mr. Carrillo was referencing the fact that

Attorney General Paxton was indicted by a Collin County grand jury in July 2015 on three

felony securities fraud charges: two first-degree felony counts of securities fraud for allegedly

having persuaded investors to purchase stock in a technology company without disclosing that

the company would compensate him for the purchase, and one third-degree felony count of

acting as an investment adviser representative without registering with state regulatory

authorities. While a federal case arising from the same allegations as the two first-degree felony



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counts was dismissed in 2017, the state case remains open. A trial set for May 2017 has been

repeatedly delayed.

       62.     On October 31, 2020, Mr. Carrillo retweeted a tweet from the @TXAG account

regarding Attorney General Paxton’s guidance to election officials that poll watchers did not

need to maintain six feet of social distancing from voters or election workers. Mr. Carrillo

commented, “In case y’all didn’t know, @KenPaxtonTX is a ghoul.”

       63.     Many of Mr. Carrillo’s later tweets regarding Attorney General Paxton did not

mention the @KenPaxtonTX account, however, Mr. Carrillo subsequently realized he had been

blocked from the account.

       64.     Attorney General Paxton’s blocking of Mr. Carrillo from the @KenPaxtonTX

account prevents or impedes Mr. Carrillo from viewing Attorney General Paxton’s tweets; from

replying to these tweets; from viewing the comment threads associated with these tweets; and

from participating in the comment threads.

                                          Joseph Cascino

         65.     Plaintiff Joseph Cascino resides in Austin, Texas. He is a student at the

 University of Texas at Austin, and the president of the Texas College Democrats. His Twitter

 account handle is @Joecascinotx.

       66.     Before he was blocked, Mr. Cascino viewed tweets from the @KenPaxtonTX

account to stay informed about Attorney General Paxton, often replying to tweets from local

news outlets that retweeted or quoted tweets from the @KenPaxtonTX account.

         67.     Mr. Cascino believes Attorney General Paxton blocked him from the

 @KenPaxtonTX account on or around January 4, 2021. On January 3, 2021, Attorney General

 Paxton tweeted: “Confirmed: Join me and @realDonaldTrump in Washington D.C. this



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 Wednesday, January 6th. All Patriots need to be present to stand with President Trump.

 Register at Trumpmarch.com. #MarchForTrump #election2020 #StopTheSteal #Trump

 #MAGA #ElectoralCollege.” Mr. Cascino replied to the tweet, stating “Go on and beg for your

 pardon.” Mr. Cascino was referencing Attorney General Paxton’s outstanding indictments and

 speculation that Attorney General Paxton was seeking a preemptive pardon from then-

 President Donald Trump.

         68.    On January 4, 2021, Attorney General Paxton tweeted: “Are you ready? Join us

 in D.C. make this the largest MAGA rally ever. @realDonaldTrump #MarchForTrump

 #StopTheSteal #election2020.” The tweet included a promotional video about the event. Mr.

 Cascino replied to that tweet, stating, “Enjoy the fresh air before you go to prison, Kenneth!”

 Mr. Cascino was referencing Attorney General Paxton’s outstanding indictments. Mr. Cascino

 subsequently realized he had been blocked from the @KenPaxtonTX account.

       69.     Attorney General Paxton’s blocking of Mr. Cascino from the @KenPaxtonTX

account prevents or impedes Mr. Cascino from viewing Attorney General Paxton’s tweets; from

replying to these tweets; from viewing the comment threads associated with these tweets; and

from participating in the comment threads.

                                        Justin Champlin

         70.    Plaintiff Justin Champlin resides in Austin, Texas. He works in sales for a

 technology company. His Twitter account handle is @DesPorkLoins.

       71.     Before he was blocked, Mr. Champlin often viewed tweets from the

@KenPaxtonTX account that local media outlets retweeted.

         72.    Mr. Champlin believes Attorney General Paxton blocked him from the

 @KenPaxtonTX account on or around January 1, 2021. On December 31, 2020, Mr. Champlin



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replied to a tweet from the @KenPaxtonTX account, in which Attorney General Paxton wrote:

“Join me on America’s Newsroom (Fox News) at 9:30 am CST to discuss the Texas lawsuit

against Travis Co. and City of Austin for COVID - related shutdown. #notonmywatch.” Mr.

Champlin responded to the tweet with “I guess you didn’t try hard enough. What a waste of a

hearing. You wasted everyone’s time by sending unprepared lawyers with no basis to their

claims.” Mr. Champlin subsequently realized he had been blocked from the @KenPaxtonTX

account.

       73.     Attorney General Paxton’s blocking of Mr. Champlin from the @KenPaxtonTX

account prevents or impedes Mr. Champlin from viewing Attorney General Paxton’s tweets;

from replying to these tweets; from viewing the comment threads associated with these tweets;

and from participating in the comment threads.

                                      Edward Espinoza

       74.     Plaintiff Edward Espinoza resides in Austin, Texas. He is the executive director

of an organization that promotes progressive messages and policies. His Twitter account handle

is @EdEspinoza.

       75.     Before he was blocked, Mr. Espinoza followed the @KenPaxtonTX account,

occasionally responding to tweets from the account by criticizing Attorney General Paxton’s

policies or political statements.

       76.     Mr. Espinoza believes Attorney General Paxton blocked him from the

@KenPaxtonTX account sometime in the beginning of January 2021. On January 1, 2021, Mr.

Espinoza replied to a tweet from the @KenPaxtonTX account in which Attorney General

Paxton celebrated the Texas Supreme Court’s reversal of an Austin local order closing

restaurants and bars in response to COVID-19. Mr. Espinoza replied to the tweet, asking if the



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Texas Supreme Court could “stop the holdup on [Attorney General Paxton’s] 5+ year felony

indictment?” Mr. Espinoza added in his tweet, “It should be illegal that you’ve been allowed to

evade it for so long.” Then on January 7, 2021, Mr. Espinoza retweeted a tweet from another

account that said “In case you were wondering what our Texas leaders were up to yesterday”

and mentioned various Texas officials. The tweet mentioned the @KenPaxtonTX account,

stating Attorney General Paxton “Den[ied] that the [Jan. 6] rioters were Trump supporters.”

Mr. Espinoza subsequently realized he had been blocked from the @KenPaxtonTX account.

       77.     Attorney General Paxton’s blocking of Mr. Espinoza from the @KenPaxtonTX

account prevents or impedes Mr. Espinoza from viewing Attorney General Paxton’s tweets;

from replying to these tweets; from viewing the comment threads associated with these tweets;

and from participating in the comment threads.

                                         Omar Gallaga

       78.     Plaintiff Omar Gallaga resides in New Braunfels, Texas. He is a freelance

journalist. His Twitter account handle is @omarg.

       79.     Before he was blocked, Mr. Gallaga viewed tweets from the @KenPaxtonTX

account, sometimes mentioning the account in tweets and retweets.

       80.     Mr. Gallaga believes Attorney General Paxton blocked him from the

@KenPaxtonTX account in January 2021. Though Mr. Gallaga is not certain which of his

tweets prompted the blocking, on December 11, 2020, he retweeted a story by the Austin

American-Statesman discussing Attorney General Paxton’s efforts to block the results of the

2020 Presidential Election. Along with a link to the story, Mr. Gallaga noted, “I have lived in

Texas for so long that I remember when people took @KenPaxtonTX seriously.” On January 1,

2021, Mr. Gallaga retweeted a tweet from the @KenPaxtonTX account that featured a graphic



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saying “Happy New Year! 2021” with the Texas flag in the image. Mr. Gallaga tweeted “Spoke

too soon. Can you indict someone for willful misuse and abuse of gradients?”

       81.     Then on January 14, 2021, Mr. Gallaga retweeted a story tweeted by the Austin

American-Statesman about school districts hoping to receive federal pandemic relief funding.

Mr. Gallaga stated “What if the money @KenPaxtonTX is requesting for his many lawsuits

and for outside counsel on his own shitshow case were sent to schools instead?” Regarding

“his own shitshow case,” Mr. Gallaga was referring to an ongoing whistleblower lawsuit

against the Attorney General filed in November 2020. In the litigation, former aides to the

Attorney General allege that he retaliated against them for requesting that federal law

enforcement investigate the Attorney General for, the whistleblowers alleged, potential

violations of federal and state law encompassing alleged potential improper influence, abuse of

office, and bribery. Mr. Gallaga subsequently realized he had been blocked from the

@KenPaxtonTX account.

       82.     Attorney General Paxton’s blocking of Mr. Gallaga from the @KenPaxtonTX

account prevents or impedes Mr. Gallaga from viewing Attorney General Paxton’s tweets; from

replying to these tweets; from viewing the comment threads associated with these tweets; and

from participating in the comment threads.

                                       Fatima Maniar

       83.     Plaintiff Fatima Maniar resides in Houston, Texas. She is a United States Army

veteran and a project manager for a health insurance company. Her Twitter account handle is

@fatimamhtx.

       84.     Before she was blocked, Ms. Maniar followed the @KenPaxtonTX account to

stay informed about Attorney General Paxton’s policies. As a single mother, she is particularly



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interested in child support issues. She also strives to remain updated on issues related to

elections and immigration.

       85.     Ms. Maniar believes Attorney General Paxton blocked her from the

@KenPaxtonTX account in late November 2020.

       86.     For example, on November 9, 2020, Ms. Maniar responded to Attorney General

Paxton’s retweet of a New York Post article about authorization of investigations into

allegations regarding the 2020 election by then-United States Attorney General William Barr.

Ms. Maniar replied, “1,931 days since you were indicted of 3 felony counts by a grand jury,

shouldn’t you be worried about that instead? #PaxtonforJail.”

       87.     On November 10, Ms. Maniar quote-tweeted a Dallas Morning News editorial,

“Attorney General Ken Paxton must resign now.” Ms. Maniar commented, “1,932 days since

he was indicted by a grand jury of 3 felonies, he’s had several aides step down because of

widespread corruption in his office… #resignNow @KenPaxtonTX.” She also tweeted a link

to a Twitter “events” page, “Supreme Court hears oral arguments in challenge to the Affordable

Care Act,” and commented, “In the middle of a pandemic @KenPaxtonTX the indicted felon

&AG of Texas attempts to strip millions of Americans of their health insurance. #SCOTUS

Supreme Court hears oral arguments on Affordable Care Act.”

       88.     And on November 11, Ms. Maniar replied to a tweet from another user that in

part asked the @KenPaxtonTX account “any idea when your trial for securities fraud is going

to take place? I wouldn’t miss it for the world, but it’s been 5+ years since your indictment.

Help me out!” Ms. Maniar stated, “Me too, it’s been 1,933 days since a grand jury indicted

him.” Ms. Maniar (a veteran) also replied to a tweet from the @KenPaxtonTX account

thanking veterans for their service. She tweeted, “It’s been 1,933 days since a grand jury



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indicted you of 3 felony counts, will you face justice?” Ms. Maniar subsequently realized she

had been blocked from the @KenPaxtonTX account.

       89.     Attorney General Paxton’s blocking of Ms. Maniar from the @KenPaxtonTX

account prevents or impedes Ms. Maniar from viewing Attorney General Paxton’s tweets; from

replying to these tweets; from viewing the comment threads associated with these tweets; and

from participating in the comment threads.

                                        Jennifer Ramos

       90.     Plaintiff Jennifer Ramos resides in Austin, Texas. She is a project assistant for a

communications firm. Her Twitter account handle is @itsjenramos.

       91.     Before she was blocked, Ms. Ramos followed the @KenPaxtonTX account to

stay informed about issues that Attorney General Paxton addresses. Ms. Ramos is particularly

interested in child support, paid sick leave, and immigration. Occasionally, Ms. Ramos would

reply to tweets from the @KenPaxtonTX account.

       92.     Ms. Ramos believes Attorney General Paxton blocked her from the

@KenPaxtonTX account on or around January 21, 2021. The previous day, Attorney General

Paxton tweeted a message about the inauguration of President Joe Biden, stating “I will always

stand firm for Texas.” Ms. Ramos replied to the tweet shortly thereafter, saying “So can you do

us a favor and turn yourself in? You’re indicted and didn’t get pardoned by Trump, after all.”

Later that day, she replied to comments from other Twitter users replying to her tweet, saying

“Let’s not forget him trying to throw all his staffers under the bus for reporting his

indiscretions.” Ms. Ramos was referring to the reported events underlying the ongoing

whistleblower lawsuit against the Attorney General. Ms. Ramos subsequently realized she had

been blocked from the @KenPaxtonTX account.



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         93.    Attorney General Paxton’s blocking of Ms. Ramos from the @KenPaxtonTX

 account prevents or impedes Ms. Ramos from viewing Attorney General Paxton’s tweets; from

 replying to these tweets; from viewing the comment threads associated with these tweets; and

 from participating in the comment threads.

                                          John Ruffier

         94.    Plaintiff John Ruffier resides in El Paso, Texas. He is a student at the University

 of Texas at El Paso (UTEP), the President of the UTEP College Democrats, and an office

 assistant at a medical supply company. His Twitter account handle is @notthechips.

       95.     Before he was blocked, Mr. Ruffier viewed tweets from the @KenPaxtonTX

account to stay informed about Attorney General Paxton and his policies.

         96.    Mr. Ruffier believes Attorney General Paxton blocked him from the

 @KenPaxtonTX account on or around February 28, 2021. The previous day, Mr. Ruffier

 tweeted “attorney general ken paxton? more like ‘going to jail!’ am i right kenneth?

 @KenPaxtonTX.” Mr. Ruffier was referencing Attorney General Paxton’s outstanding felony

 indictments. He also replied to a tweet from the @KenPaxtonTX account, in which Attorney

 General Paxton retweeted a tweet and photo of himself and another person at the Conservative

 Political Action Conference, with neither of them wearing masks. Mr. Ruffier tweeted a

 response to the photo: “wear a mask nerd.” Mr. Ruffier subsequently realized he had been

 blocked from the @KenPaxtonTX account.

       97.     Attorney General Paxton’s blocking of Mr. Ruffier from the @KenPaxtonTX

account prevents or impedes Mr. Ruffier from viewing Attorney General Paxton’s tweets; from

replying to these tweets; from viewing the comment threads associated with these tweets; and

from participating in the comment threads.



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                                       James Scurlock

       98.     Plaintiff James Scurlock resides in Leander, Texas. He is a civil rights and

employment attorney. His Twitter account handle is @realscurlock.

       99.     Before he was blocked, Mr. Scurlock was following the @KenPaxtonTX

account to stay updated on Attorney General Paxton’s work, often paying special attention to

the way in which Attorney General Paxton used taxpayer funds.

       100.    Mr. Scurlock believes Attorney General Paxton blocked him from the

@KenPaxtonTX account on or around March 11, 2021. On March 10, Mr. Scurlock replied to

a tweet from the account about mask mandates in Travis County and Austin. Mr. Scurlock

stated in the reply, “You’re indicted.” That same day, Mr. Scurlock replied to a March 8, 2021

tweet from the account in which Attorney General Paxton wrote “Happy

#InternationalWomensDay! Today I recommit myself to fighting for women & girls in TX

while Biden & his radical-left allies continue to wage war against them. Despite Dems’ empty

claims to the contrary, today’s progressives are openly hostile to women. Here’s my latest.”

The tweet included a formal letter that Attorney General Paxton had sent to President Biden.

Mr. Scurlock replied to the tweet, stating “You have victimized women. You’re indicted for

making women victims of your crimes.”

       101.    Then on March 11, 2021, Mr. Scurlock retweeted a tweet from another user that

said, “Don’t get distracted by his antics. @KenPaxtonTX just wants you to forget he’s under

indictment for securities fraud, and that the FBI is investigating him for using the Texas AG’s

office to benefit a political donor. Wear your mask, Texas—to not do so would be plain silly.”

Mr. Scurlock subsequently realized he had been blocked from the @KenPaxtonTX account.




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       102.     Attorney General Paxton’s blocking of Mr. Scurlock from the @KenPaxtonTX

account prevents or impedes Mr. Scurlock from viewing Attorney General Paxton’s tweets; from

replying to these tweets; from viewing the comment threads associated with these tweets; and

from participating in the comment threads.

                                 Knight First Amendment Institute

       103.     Plaintiff Knight First Amendment Institute at Columbia University is a 501(c)(3)

organization that defends the freedoms of speech and the press in the digital age through strategic

litigation, research, and public education. The Knight Institute’s staff operate a Twitter account

under the handle @knightcolumbia, and this account follows @KenPaxtonTX and the Individual

Plaintiffs’ Twitter accounts.

       104.     Unlike the Individual Plaintiffs, the Knight Institute has not been blocked from

the @KenPaxtonTX account. It can access Attorney General Paxton’s tweets on the same terms

as other users, it can reply to the account directly, and it can participate fully in comment threads.

The viewpoint-based exclusion of the Individual Plaintiffs and other blocked users from this

forum, however, prevents the Knight Institute, the Individual Plaintiffs, and other forum

participants from hearing the speech that the blocked users would have engaged in had they not

been blocked. Because the First Amendment protects the right to hear as well as the right to

speak, Attorney General Paxton’s viewpoint-based blocking of the Individual Plaintiffs and other

blocked users violates Plaintiffs’ First Amendment rights.




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                                        Cause of Action

       Violation of the First and Fourteenth Amendments of the U.S. Constitution
                                    (42 U.S.C. § 1983)

       105.    Defendant’s blocking of the Individual Plaintiffs from the @KenPaxtonTX

account violates the First and Fourteenth Amendments because it imposes a viewpoint-based

restriction on the Individual Plaintiffs’ participation in a public forum.

       106.    Defendant’s blocking of the Individual Plaintiffs from the @KenPaxtonTX

account violates the First and Fourteenth Amendments because it imposes a viewpoint-based

restriction on the Individual Plaintiffs’ access to official statements Attorney General Paxton

otherwise makes available to the general public.

       107.    Defendant’s blocking of the Individual Plaintiffs from the @KenPaxtonTX

account violates the First and Fourteenth Amendments because it imposes a viewpoint-based

restriction on the Individual Plaintiffs’ ability to petition the government for redress of

grievances.

       108.    Defendant’s blocking of the Individual Plaintiffs and other individuals from the

@KenPaxtonTX account based on their viewpoints violates the First and Fourteenth

Amendments because it imposes a viewpoint-based restriction on Plaintiffs’ right to hear.

                                        Prayer for Relief

     WHEREFORE, Plaintiffs respectfully request that this Court:

       1.      Declare Defendant’s viewpoint-based blocking of the Individual Plaintiffs and

other individuals from the @KenPaxtonTX account to be unconstitutional;

       2.      Enter an injunction requiring Defendant to unblock the Individual Plaintiffs

from the @KenPaxtonTX account, and prohibiting Defendant from blocking the Individual

Plaintiffs or other individuals from the account on the basis of viewpoint;


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         3.      Award Plaintiffs their costs, including reasonable attorneys’ fees, pursuant to 42

U.S.C. § 1988; and

         4.      Grant any additional relief as may be just and proper.



Dated: April 8, 2021                              Respectfully submitted,

                                                   /s/ Katherine Fallow
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